                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

ALICIA CURRY,                                        Case No.: 1:16-cv-01382

               Plaintiff,                            Honorable Robert J. Jonker

v.

KALAMAZOO PUBLIC SCHOOL
SYSTEM and RODNEY PREWITT,
in his individual and official capacity,

            Defendants.
____________________________/

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     STIPULATION WITH PROPOSED ORDER OF DISMISSAL OF PLAINTIFF’S
            COMPLAINT WITH PREJUDICE AND WITHOUT COSTS

       The parties, through counsel, hereby stipulate and agree that Plaintiff’s Complaint against

Defendants be dismissed with prejudice and without costs, in accordance with an agreement

placed on the record (ECF 142). Specifically, the parties stipulate to the entry of the attached

proposed Order.

IT IS SO STIPULATED:

s/ Joel B. Sklar               s/ Craig R. Noland                    s/ Karl W. Butterer, Jr.
Joel B. Sklar (P38338)         Craig R. Noland (P30717)              Karl W. Butterer, Jr. (P51448)
Attorney for Plaintiff         Attorney for Defendant KPS            Attorney for Defendant Prewitt
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____________________________/


                 ORDER OF DISMISSAL OF PLAINTIFF’S COMPLIANT
                     WITH PREJUDICE AND WITHOUT COSTS

       In accordance with the referenced agreement and stipulation of the parties, Plaintiff’s

Complaint against each of the Defendants is hereby DISMISSED with prejudice and without

costs, with the Court retaining jurisdiction only if needed to enforce the agreement.

       IT IS SO ORDERED.




                                       Honorable Robert J. Jonker
